Case 2:24-cv-12962-GAD-EAS

ECF No. 75-7, PagelD.5405 Filed 02/21/25 Page 1 of 6

. STATE OF MICHIGAN UNIFORM CHILD SUPPORT ORDER . CASE NO. and JUDGE

6TH JUDICIAL CIRCUIT [ J EX PARTE [ ] TEMPORARY 2020-880855-DM

QAKLAND COUNTY ‘[X] MODIFICATION _[.] FINAL HON. JULIE A. MCDONALD
Court address Court telephone no.

1200 NORTH-TELEGRAPH

PONTIAC, MI
Plaintiff's name, address, and telephone-no. Defendant's name, address, and telephone no.

SHARI LYNN OLIVER _ [> MATTHEW.WARREN OLIVER

Vv

Plaintiffs namé, bar no., address, and telephone no. Defendant's attorney, bar no., address, and telephone no.
Plaintiff's source of income name, address, and-telephone no. {Defendant's source of income name, address, and telephone no.

IMPUTED

This order is entered [ ] after hearing. [ ] after

statutory review. [X] on stipulation/consent of the parties.

[ ] The friend of the court recommends support be ordered as follows.

[ ] If you disagree with this recommendation, you must file a written objection.with on or

before 21 days from the date this order is mailed. If you do not object, this proposed order will be presented to the court for entry.
[ ] Attached are the calculations pursuant to MCL 552.505(1)(h) and MCL 552.517b.

IT IS ORDERED, unless otherwise ordered in item 11 or 12:
[X] Standard.provisions have been modified (see item 11. or 12):

1. The children: who are supported under this order and the payer and payee are:

Payer:
SHARI LYNN OLIVER

Payee:
MATTHEW WARREN OLIVER

Children's Names

Children's names and annual overnights with payer:

Overnights

M.L.O.

M.A.O,

Effective 01/01/2024 , the payer shall pay a mon

thly child support obligation for the children named above.

Approved, SCAO
Form FOC. 10/52, Rev.-7/21

Distribute form to:
Court

MCL 552.14, MCL 552,517, MCL 552.517b(3), MCL 552.517f, MCR 3.211 Plaintiff

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Defendant
Friend of the court

Doc ID: 454e13b419ef0460a0262e051cd28463c53d385c
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Uniform Child Support Order (7/21) Case No.
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1. Item 1 (continued).

Children supported: 1 child 2 children 3. children 4 children - 5 or more children
Base. support: (includes'support plus or minus premium adjustment for health-care insurance)

Support: $0 a $0.

Premium adjust.

Subtotal: $0 $0 (

Ordinary medical: $0 $0

Child care:

Other:

Benefit credit:

Total: $0 ‘$0

[ ] Support was reduced because payer's income was reduced,

Uninsured Health-Care Expenses. All uninsured health-care expenses exceeding the annual ordinary medical amount will
be paid _ 68.1% by the plaintiff and __31,9% _ by the defendant. Uninsured expenses exceeding the annual ordinary
medical amount for. the year they are incurred that are not paid within 28 days of-a written payment request may be enforced

by the friend of the court. The annual ordinary medical amount is $454 per child per year,

Obligation Ends. Except for child care, or as otherwise ordered, support obligations for each child end on the last day of the month
the child turns age: 18.

[ ] Post-majority Support: The following children will be attending high school on a full-time basis after turning 18 years of age.
Therefore, the support obligation.for each specific child ends on the last day of the month as follows, except in no case may
it extend beyond the time the child reaches 19 years and 6 months of age:
(Specify name of child and date obligation ends.)

Child Care. The parties must notify each other of changes in child-care expenses and must additionally notify the friend of
the court if the changes end those-expenses,: The child-care obligation for each child ends August 31 following the child's
12th birthday, at which time the total child. care obligation reduces by that child's pro rata share unless specified differently

inthis. order.

2. Health-Care Coverage. For the benefit of the.children, the [Xx] plaintiff. [X] defendant shall maintain health-care coverage
(as defined in MCL 552.602) that includes payment for hospital, dental, optical, and other health-care expenses.when that
coverage is accessible to the child at a reasonable cost. The reasonable cost is the parent's net cost of adding
the children to the parent's. coverage.

[ ] up to a maximum of_$400 Per Month_ for plaintiff,
[ ] up to a maximum of _$160 Per Month for defendant.

[X] not to exceed 6% of the plaintiff's/defendant's gross income.

3.. Income Witholding. Income witholding takes immediate effect. Payments shall be made through the Michigan State
Disbursement Unit unless otherwise ordered in item 12.

4. Qualified Medical Support Order. This order is a qualified medical support order with .immediate effect pursuant to 29 USC 1169.
To qualify this order, the friend of the court shall issue a notice-to enroll pursuant to MCL 552.626b. A parent may contest
the notice by requesting a-review or hearing concerning availability of health care at a reasonable cost.

5. Retroactive Modification, Surcharge for Past-Due Support, and Liens for Unpaid Support. Except as provided by MCL
552.603, support is a judgment the date it. is due-and is not modifiable retroactively. A surcharge may be added to past-due
support. Unpaid. support is a lien by operation of law and the payer's. property can be encumbered or seized if an arrearage
accrues in an amount greater than the periodic support: payments payable for two months-under the ‘payer's support order.

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Uniform Child Support Order (7/21) Case No.
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6, Address, Employment Status, Health Insurance. Both parties shall notify the friend of the court in writing of: a) their mailing
and residential addresses and telephone numbers; b) the names, addresses, and telephone numbers of their sources of income;
c) their health-maintenance or insurance companies, insurance coverage, persons insured, or contract numbers; d) their
occupational or drivers’ licenses; and e) their social security numbers unless exempt by law pursuant to MCL 552.603. Both
parties shall notify the friend of the court:in writing within 21 days of any change in this information. Failure to do so may result
in a fee being imposed.

7. Foster-Care Assignment. When a child is placed in foster care, that child's support is assigned to the Michigan Department of
Health and Human Services while under the-state’s jurisdiction and to the funding county while placed in a county-funded program.

8. Redirection and Abatement. As provided by. MCL 552.605d and subject to statutory procedures, the friend of the court -
_ May redirect support paid for a child to the person who is providing the actual care, support, and maintenance of that
child, and.shall abate support charges to zero for a child who resides on a full-time basis with the payer of support or if
the payer of support will be incarcerated for 180 consecutive days or more without the ability to pay.

[]. When friend of the court becomes aware that the payer's condition meets the definition of incapacitation as. defined
in the current or subsequent: Michigan Child Support Formula, monthly support charges shall abate and be temporarily
reduced to zero effective the date that the friend of the court office provides notice of the abatement to the parties and
to the court. Support.charges shall be reinstated effective.60 days after the incapacitation ends. The office shall
provide notice of reinstatement to the parties. and to the court that specifies the date charges will be effective.

Either party may object to the abatement or reinstatement by filing a written objection with the court within 21 days
following when. the notice. was filed, or by filing a motion. If a timely objection is received, the friend of the court shall
either set:the objection for hearing or complete a support review. with an effective date no earlier than the date of filing
of that notice.

Based on a motion by either. party or a recommendation following a review by the friend of the court, the amount
abated may be later corrected based on the parties' incomes or-ability to pay during the abatement period.

9. Fees. The payer of support shall pay statutory and service fees as required by law.

10. Review. Each party to a support order may submit a written request to have the friend of the court review the order. The
friend of the court is not required to act on. more than one request received from a party each 36 months. A party may
also file a motion to modify this support order. ,

[ ] 11. Michigan Child: Support Formula Deviation. The support provisions ordered. do. not.follow the Michigan Child Support
Formula. The attached deviation addendum (FOC 10d) provides the basis for deviation and the required findings by the court.

[ ]12. Other: (Attach separate sheets as needed.)

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13, Prior Orders. This order supersedes all prior child-support order:
in this order. Past-due amounts owed. under:any prior support ord
the arrearage guideline in the Michigan Child Support Formula.

Muck 14-2023,

12/19 / 2023
Plaintiff (if consent/stipulation) Date

Defendant (if Consent/stipulation) | Date
\) /s/Philip Ve issi
CE > aby ilip Vera w/permission .
Plaintiff's attorney

Defendant's attorney

| ai: continuing provisions are restated

Date
Prepared by:

Name (type or print):

CERTIFICATE OF MAILING

I served a copy of this uniform child support order on the parties or their attorneys by first-class mail addressed to their last-known
addresses as defined in MCR 3.203. [X] I also served the Deviation Addendum (FOC 10d) with this order:

I declare under:the penalties of perjury that this certificate of mailing has.been examined by me and that its contents are true to the
best of my information, knowledge, and belief.

Date

Signature

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STATE OF MICHIGAN ~ UNIFORM CHILD SUPPORT ORDER CASE NO. and JUDGE
6TH JUDICIAL CIRCUIT : DEVIATION ADDENDUM 2020-880855-DM
OAKLAND COUNTY HON. JULIE A. MCDONALD
Court address - ‘Court telephone no.
1200 NORTH TELEGRAPH
PONTIAC, MI
Plaintiff's name Defendant's name
SHARI LYNN OLIVER Mv MATTHEW. WARREN OLIVER
THE COURT FINDs:
1, Paragraph(s) 1 ‘in the preceding pages of the uniform order deviate from the Michigan Child Support

(specify paragraph number)
Formula and are warranted to avoid an unjust or inappropriate result.

. 2 Pursuant to MCL 552.605(2), it has been. determined from the facts of this case that:

a. The child support obligation that would be ordered by applying the Michigan Child Support Formula is:

Payer: Payee:

SHARL-LYNN OLIVER MATTHEW WARREN OLIVER —
Children’ S$ names and annual overnights with payer: .

Children's Names Overnights

M.L.O, : 0
M.A,O.
Children supported: © 1 child 2 children 3 children 4 children 5 er.more children
Base support: (includes support plus or minus premium adjustment for health-care insurance)
Support: $923 $1,414
Premium adjust.
Subtotal: $923 $1,414
Ordinary medical: $26 $52
Child care:
Other:
Benefit credit:
Total: $949 $1,466

[ ] Support was reduced: because payer's income was reduced.

Uninsured Health-Care Expenses. All uninsured health-care expenses exceeding the annual ordinary medical amount will
be paid ___68.1% __- by the plaintiff and __31.9% _ by the defendant. Uninsured expenses exceeding the annual ordinary medical
amount for the year they are incurred that are not paid within 28 days of a-written payment request may be enforced by. the friend.”

of the court. The annual ordinary medical amount i is $454 per child per year. _

Approved, SCAO” , ~ Distribute form to:
Form FOC 10d, Rev, 7/20 Court

MCL 552.517, MCL 552.517b(3), MCL.552.605, MCR°3.211 Plaintiff

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Friend of the court

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Uniform Child Support Order Deviation Addendum (7/20) : . Case No.
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(Item 2 continued.)

Health-Care Coverage. For the benefit of the children, the [] plaintiff [] defendant. shall maintain health-care coverage
(as defined in MCL 552,602) that includes payment for hospital, dental, optical; and other health-care expenses when that
coverage is accessible to the child and available at a reasonable cost. The reasonable cost is the parent’s net cost of

adding the children to the parent's coverage.

[ ] up to a maximum of_$400 Per Month- for plaintiff.
[ ] up to a maximum of_$160-Per Month for defendant.
[ ] not to exceed 6% of the plaintiff's/defendant's gross income.

b. Applying the Michigan Child Support Formula.is unjust or inappropriate because: (Specify the deviation factors relied on.)

MCSF 1.049 (E)(20).the parties acknowledge and agree that at the present time both have sufficient family income
to meet the needs of the minor children when.the children are in their respective custody

¢c, The child support order deviates from the Michigan Child Support Formula as follows:
(Specify which provisions of the child support formula create an unjust or inappropriate result and explain how this order deviates from the provisions.)

Both parties have sufficient income to provide for the needs of the minor. children when they are in their respective
custody.

d. The value of property or other support awarded instead of the payment of child support: cir not applicable, put none.)

None. -

Maus Un | 12-19. un Ney — 12/19 / 2023

Plaintiff (if consent/stipulation) . Date Defendant i consent/stipulation) Date

/s/Philip Vera w/permission
tial 9

. Plaintiff's attorney Date Defendant's attorney Date

Prepared by: _ PHILIP G. VERA (P69926)
Name (type or print)

Note: When deviating, this form must be completed, attached, and served along with the rest of the Uniform Child Support Order.
The proof of service on the Uniform Child Support Order must indicate this form was induded,

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